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                                                                                   2018 May-03 PM 03:23
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

SANGITA BHAGAT,                         )
    Plaintiff,                          )
                                        )
vs.                                     )       CIVIL ACTION NO.:
                                        )       2:17-CV-1139 KOB
                                        )
EQUIFAX INFORMATION                     )
SERVICES, INC., et al.                  )
    Defendants.                         )

                          NOTICE OF SETTLEMENT

      Plaintiff Sangita Bhagat (“Plaintiff”) hereby notifies the court that Plaintiff

and the sole remaining defendant, Experian Information Solutions, Inc. (“Experian”)

have reached a settlement in principal and are in the process of consummating the

terms of the settlement agreement. Plaintiff expects to file a dismissal with prejudice

with respect to her claims against Experian on or before June 4, 2018.


                                 Respectfully submitted,

                                 /s/ Micah S. Adkins
                                 Micah S. Adkins (ASB-8639-I48A)
                                 THE ADKINS FIRM, P.C.
                                 7100 Executive Center Drive, Suite 110
                                 Brentwood, Tennessee 37027
                                 Telephone: (615) 370-9659
                                 Facsimile: (615) 370-4099
                                 Email: MicahAdkins@ItsYourCreditReport.com
                                 Counsel for Plaintiff




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                        CERTIFICATE OF SERVICE

      I certify that on May 3, 2018, I served the foregoing paper by U.S. Mail
postage pre-paid on the following counsel of record:

L. Jackson Young, Jr.                     Kirkland E. Reid
Ferguson, Frost, Moore & Young, LLP       Jones Walker LLP
1400 Urban Center Drive, Suite 200        11 N. Water Street, Suite 1200
Birmingham, AL 35242                      Mobile, AL 36602

Jessica C. Casey
Jones Day
1420 Peachtree Street NE, Suite 800
Atlanta, GA 30309-3053


                        /s/ Micah S. Adkins
                        Micah S. Adkins




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